            Case 2:10-cr-20194-SHM Document 68 Filed 04/06/15 Page 1 of 1                                                       PageID 275
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT
                                                            COURT
                                                                 
                                                                        for the
                                                       Western District
                                                      __________        of of
                                                                 District   Tennessee
                                                                               __________
                                                                                   

  81,7('67$7(62)$0(5,&$
             v.                                                           )
                                                                           )
        WILLIAM HARNESS                                                    )    Case No: 2:10CR20194-Ma
                                                                           )    USM No: 19503-075
Date of Original Judgment:                            01/31/2012           )
Date of Previous Amended Judgment:                                         )    David Bell
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   fifty-seven (57) months        is reduced to    forty-six (46) months                                                             .
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                          01/31/2012              shall remain in effect.
IT IS SO ORDERED.

Order Date:                  04/06/2015                                        s/    Samuel H. Mays, Jr.
                                                                                                         Judge’s signature


Effective Date:              11/01/2015                                  SAMUEL H. MAYS, JR., UNITED STATES DISTRICT JUDGE
                     (if different from order date)                                                    Printed name and title
